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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                         )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                                    )
                                                     )      DISTRICT JUDGE POLSTER
                                                     )      MAGISTRATE JUDGE RUIZ
This document relates to:                            )
                                                     )      Motion for State Amicus Briefing
State of Alabama v. Purdue Pharma, et al.,           )
   Case No. 18-OP-45236                              )
                                                     )
                                                     )

                    ORDER GRANTING PLAINTIFF’S
     MOTION TO PERMIT SHARING OF ALABAMA’S AMENDED COMPLAINT

       Plaintiff State of Alabama asks this Court to allow it to share its amended complaint with

other State Attorneys General and to set the parameters for state amicus briefing contemplated by

Case Management Order 1.

       Having considered the State’s motion, the Court hereby GRANTS the motion as follows:

       1. Notwithstanding previous orders of this Court, the State of Alabama may share its

amended complaint (and any future amended complaints) with other State Attorneys General.

The recipient States’ use of Alabama’s amended complaint (and any future amended complaints)

shall be governed by the protective orders of this Court.

       2. Consistent with Case Management Order One, the State Attorneys General may file

amicus briefs in State of Alabama v. Purdue Pharma, et. al., as follows:

           a. The State Attorneys General may file one consolidated brief of no more than 20

               pages on issues related to manufacturer Defendants;

           b. The State Attorneys General may file one consolidated brief of no more than 20

               pages on issues related to the distributor Defendants;
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           c. The amicus briefs shall be filed no later than seven days after Alabama files its

               response to the Defendants’ motions to dismiss;

           d. Defendants’ reply briefs shall respond to both Alabama’s brief and the amicus

               briefs and shall not exceed 30 pages each; and,

           e. Defendants’ reply briefs shall be filed no later than 28 days after the amicus briefs

               are filed.

The filing of an amicus brief pursuant to this order does not subject any State or State Attorney

General to the jurisdiction of this Court for any other purpose.

IT IS SO ORDERED.



                                                       /s/Dan Aaron Polster
                                                      __________________________________
                                                      DAN AARON POLSTER
                                                      UNITED STATES DISTRICT JUDGE
          7/3/18
Dated: ___________________________
